 2AO 435              Case       5:21-cv-00844-XR
                                      Administrative Office of Document          564 Filed 03/14/23 Page
                                                               the United States Courts               FOR 1 of 2 USE ONLY
                                                                                                          COURT
 AZ Form(Rev. )                                                                                              DUE DATE:
                                                 TRANSCRIPT ORDER

1. NAME                                                                               2. PHONE NUMBER                3. DATE
           Orion Armon                                                                  (415) 693-2366                          3-14-2023
4. FIRM NAME
                 Cooley LLP
5. MAILING ADDRESS                                                                    6. CITY                        7. STATE         8. ZIP CODE
                         3 Embarcadero Center, 20th Floor                                       San Francisco          CA                94111
9. CASE NUMBER                          10. JUDGE                                                        DATES OF PROCEEDINGS
   5:21-cv-00844-XR                                Hon. Xavier Rodriguez              11. from 3-07-2023           12. to 3-07-2023
13. CASE NAME                                                                                          LOCATION OF PROCEEDINGS
   La Unión del Pueblo Entero, et al. v. Abbott, et al.                               14. San Antonio              15. STATE Texas
16. ORDER FOR
APPEAL                               CRIMINAL                                   CRIMINAL JUSTICE ACT          BANKRUPTCY
NON-APPEAL                           ✔
                                        CIVIL                                      IN FORMA PAUPERIS              OTHER 6SHFLI\

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                PORTIONS                                    DATE(S)                              PORTION(S)                        DATE(S)
  VOIR DIRE                                                                            TESTIMONY (6SHFLI\
  OPENING STATEMENT (Plaintiff)
  OPENING STATEMENT (Defendant)
  CLOSING ARGUMENT (Plaintiff)                                                         PRE-TRIAL PROCEEDING
  CLOSING ARGUMENT (Defendant)
  OPINION OF COURT
  JURY INSTRUCTIONS                                                                   ✔OTHER(6SHFLI\)
  SENTENCING                                                                         Hrg Mot Clarification & MTC                3-07-2023
  BAIL HEARING
18. ORDER
                        ORIGINAL + 1              FIRST            # OF                 DELIVERY INSTRUCTIONS
  CATEGORY             (original to Court,                      ADDITIONAL                                                     ESTIMATED COSTS
                                                  COPY                                     (&heck all that apply)
                     copy to ordering party)                      COPIES
    30 DAYS                                                                               PAPER COPY
    14 DAYS                                        
7 DAYS H[SHGLWHG                                                                      ✔   3') HPDLO
    '$<6
                                                   ✔
                                                                      1
     DAILY
                                                                                          $6&,, HPDLO
   HOURLY                                          
   REALTIME                                                                           E-MAIL ADDRESS
                                                                                       oarmon@cooley.com; jpalaganas@cooley.com
CERTIFICATION (19. & 20.)By signing below, I certify that I will pay all charges
           
                        (deposit plus additional).
                                                                                       NOTE: IF ORDERING 025(7+$121()250$7,
19. SIGNATURE      /s/ Orion Armon                                                     THERE WILL BE ANADDITIONAL CHARGE.
20. DATE   3-14-2023
TRANSCRIPT TO BE PREPARED BY
                                                                                      ESTIMATE TOTAL

                                                                                      PROCESSED BY                       PHONE NUMBER
ORDER RECEIVED                                    DATE                BY

DEPOSIT PAID                                                                          DEPOSIT PAID

TRANSCRIPT ORDERED                                                                    TOTAL CHARGES

TRANSCRIPT RECEIVED                                                                   LESS DEPOSIT
ORDERING PARTY NOTIFIED
                                                                                      TOTAL REFUNDED
TO PICK UP TRANSCRIPT

PARTY RECEIVED TRANSCRIPT                                                             TOTAL DUE


                    DISTRIBUTION:               COURT COPY            TRANSCRIPTION COPY             ORDER RECEIPT     ORDER COPY
AO 435 INSTRUCTIONS
                 Case           5:21-cv-00844-XR Document 564 Filed 03/14/23 Page 2 of 2
Use. Use this form to order transcript of proceedings. Complete a separate order form for each case number for which transcript is ordered.

Completion. Complete Items 1-20. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Filing with the Court. Parties to the case may electronically file the original in the ECF system. Non-parties and pro se litigants should deliver
a copy to the Office of the Clerk of Court or email a copy to the following email address:
       Phoenix: phxao435transcriptorders@azd.uscourts.gov                   Tucson: tucao435transcriptorders@azd.uscourts.gov

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or delivered to the court. Upon receipt of
the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal government from
the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must be paid prior to
receiving the completed order.

Items 1-20.       These items should always be completed.

Item 9.           Only one case number may be listed per order.

Item 16.          Place an “X” in each box that applies.

Item 17.          Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript is requested.
                  Be sure that the description is clearly written to facilitate processing. Orders may be placed for as few pages of transcript as
                  are needed.

Item 18.          Categories. There are seven (7) categories for ordering transcripts. Orders are considered received upon receipt of the deposit:

                            Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order.

                            14 Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.

                            3 Day. A transcript to be delivered within three (3) calendar days from receipt of an order.

                            Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.

                            Daily. A transcript to be delivered on the calendar day following receipt of the order (regardless of whether that
                            calendar day is a weekend or holiday) prior to the normal opening hour of the Clerk’s Office.

                            Hourly. A transcript of proceedings to be delivered within two (2) hours from receipt of the order.

                            Realtime. A draft unedited transcript produced by a certified realtime reporter as a by-product of realtime to be
                            delivered electronically during proceedings or immediately following adjournment.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order for expedited
transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate, and if not completed and
delivered within 14 calendar days, payment would be at the ordinary delivery rate.

Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.

                            Original. Original typing of the transcript. An original must be ordered and prepared prior to the availability of
                            copies. The original fee is charged only once. The fee for the original includes the free copy for the court.

                            First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies must pay this
                            rate for the first copy ordered.

                            Additional Copies. All other copies of the transcript ordered by the same party.

                            Delivery Instructions. Place an "X" in each box that applies. If ordering both paper and electronic copies, there will
                            be an additional copy charge. Provide e-mail address where electronic e-mail copy should be sent.

Item 19.          Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional charges.)

Item 20.          Enter the date of signing.

Shaded Area.      Reserved for the court’s use.
